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                IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:92CR14
                              )
          v.                  )
                              )
CHRISTOPHER SCOTT,            )                        ORDER
                              )
               Defendant.     )
______________________________)


            This matter is before the Court on defendant’s motion

to reconsider order and judgment (Filing No. 1084), seeking a

reconsideration of this Court’s memorandum opinion and order and

judgment of January 2, 2008 (Filing Nos. 1080 and 1081).                 The

defendant is not eligible for the application of Amendment 706 to

the United States Sentencing Guidelines as he was not sentenced

under the guidelines but was sentenced pursuant to the applicable

statutes.   The sentence imposed upon defendant was mandated by

Congress in Title 21, United States Code, § 848(b) as he was

convicted of a continuing criminal enterprise.

            For the reasons stated in this Court’s memorandum

opinion of January 2, 2008, the defendant’s motion to reconsider

will be denied.    Accordingly,
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           IT IS ORDERED that defendant’s motion to reconsider

order and judgment is denied.

           DATED this 5th day of February, 2008.

                                     BY THE COURT:

                                     /s/ Lyle E. Strom
                                     ______________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
